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                                 MINUTE ORDER



   CASE NUMBER:           CIVIL NO. 21-00248 LEK-KJM
   CASE NAME:             Robin Hall vs. City and County of Honolulu et al.,



        JUDGE:      Leslie E. Kobayashi          DATE:            04/12/2022


  COURT ACTION: EO: COURT ORDER REGARDING DEFENDANT JOHN LEO
  CASTILLO’S MOTION TO DISMISS SECOND AMENDED COMPLAINT FILED
  OCTOBER 28, 2021

         On April 11, 2022, Defendant John Leo Castillo (“Castillo”) filed his Motion to
  Dismiss Second Amended Complaint Filed October 28, 2021 (“Castillo Motion”). [Dkt.
  no. 65.] Currently pending before the Court are: Defendant City and County of
  Honolulu’s (“the City”) Motion to Dismiss Second Amended Complaint Filed October
  28, 2021 (“City Motion”), filed on November 12, 2021; and Defendant Debra Maioho-
  Pohina’s (“Maioho-Pohina”) Motion to Dismiss Second Amended Complaint Filed
  October 28, 2021 (“Maioho-Pohina Motion”), also filed on November 12, 2021. [Dkt.
  nos. 43, 44.] A hearing on the City Motion and the Maioho-Pohina Motion was held on
  February 18, 2022, and the motions were taken under advisement. [Minutes, filed
  2/18/22 (dkt. no. 61).]

         The disposition of the Maioho-Pohina Motion may affect some of the issues in the
  Castillo Motion. Therefore, no action will be taken on the Castillo Motion until the
  written order ruling on the City Motion and the Maioho-Pohina Motion is issued. After
  the written order is issued, an entering order will be issued informing the parties
  regarding how the Court will proceed on the Castillo Motion. In other words, no party
  will be required to respond to the Castillo Motion until that entering order is issued.

        IT IS SO ORDERED.

  Submitted by: Agalelei Elkington, Courtroom Manager
